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ECHJAY FORGINGS PVT LTD,
                                             Court No. 22-00172



UNITED STATES OF AMERICA,




    January 24, 2023

                                  /s/ Peter Koenig


                                 2550 M Street, NW


                                 Washington, DC 20037


                                  202-669-1901


                                   /s/Geoffrey M. Long


                                 U.S. Dep't of Justice, P.O. Box 480, Ben Franklin Station


                                 Washington, DC 20044


                                   (202)307-0159
      Case 1:22-cv-00172-JAR Document 30   Filed 01/25/23   Page 2 of 2




No others.




    January 25, 2023




                                           /s/ Geoffrey Goell
